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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION AT DAYTON


JOHN AND JANE DOE NO. 1, et al.,

           Plaintiffs,                                     Case No. 3:22-cv-337

vs.

BETHEL LOCAL SCHOOL DISTRICT                               District Judge Michael J. Newman
BOARD OF EDUCATION, et al.,                                Magistrate Judge Peter B. Silvain, Jr.

           Defendants.

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                            SCHEDULING ORDER
______________________________________________________________________________

           This case is before the Court following a telephone conference held on December 13, 2022

concerning Plaintiffs’ motion for a preliminary injunction (Doc. No. 5) and Plaintiffs’ motion for

protective order (Doc. No. 3). Pursuant to the record of the phone conference and upon agreement

of the parties’ counsel, this case shall proceed as follows:

      1.      AT&T phone conference concerning
              Plaintiffs’ motion for a protective order:     December 21, 2022 at 3:00 p.m.

              Counsel shall call: 1-888-278-0296,
              enter access code 2725365, security
              code 123456, and wait for the Court to
              join the conference.
      2.      Defendants’ memorandum in response
              to Plaintiffs’ motion for a preliminary
              injunction:                                    January 9, 2023
      3.      Plaintiffs’ reply in support of their
              motion for a preliminary injunction:           January 23, 2023
      4.      Hearing on Plaintiffs’ motion for a
              preliminary injunction:                        February 7, 2023 at 9:30 a.m.

              This hearing shall take place in
              Courtroom 4, Walter H. Rice U.S.
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        Federal Bldg. & Courthouse, 200 W.
        2nd St., Dayton, Ohio.


      IT IS SO ORDERED.


December 13, 2022                            s/Michael J. Newman
                                             Hon. Michael J. Newman
                                             United States District Judge




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